






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00246-CV






In re Kirk Wayne McBride, Sr.






ORIGINAL PROCEEDING FROM COMAL COUNTY



	


M E M O R A N D U M   O P I N I O N



	Relator has filed a petition for writ of mandamus complaining of the trial court's
actions in his 1995 criminal case.  See Tex. R. App. P. 52.8.  Having reviewed the petition and
record provided, we deny the petition for writ of mandamus.  


					___________________________________________

					David Puryear, Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Filed:   May 14, 2010


